      23-60307-mmp Doc#15 Filed 09/30/23 Entered 09/30/23 23:21:22 Imaged Certificate of
                                     Notice Pg 1 of 5
Information to identify the case:
Debtor 1
                       Arthur Johnson                                                Social Security number or ITIN   xxx−xx−3028
                                                                                     EIN _ _−_ _ _ _ _ _ _
                       First Name   Middle Name   Last Name

Debtor 2                                                                             Social Security number or ITIN _ _ _ _
                       First Name     Middle Name     Last Name
(Spouse, if filing)                                                                  EIN _ _−_ _ _ _ _ _ _

United States Bankruptcy Court       Western District of Texas

Case number:          23−60307−mmp



Order of Discharge                                                                                                                  12/15
IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

             Arthur Johnson
                                                                           For the
                                                                           court:
             9/28/23
                                                                                            Barry D. Knight
                                                                                            Clerk of the Bankruptcy Court


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                            This order does not prevent debtors from paying
and it does not determine how much money, if                              any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                      debts according to the reaffirmation agreement.
                                                                          11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                 Most debts are discharged
attempt to collect a discharged debt from the                             Most debts are covered by the discharge, but not
debtors personally. For example, creditors                                all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                           personal liability for debts owed before the
or otherwise try to collect from the debtors                              debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                          Also, if this case began under a different chapter
in any attempt to collect the debt personally.                            of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                          to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                               are discharged.
However, a creditor with a lien may enforce a                             In a case involving community property: Special
claim against the debtors' property subject to that                       rules protect certain community property owned
lien unless the lien was avoided or eliminated.                           by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                             not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.

                                                                                         For more information, see page 2




Official Form 318                                             Order of Discharge                                       page 1
   23-60307-mmp Doc#15 Filed 09/30/23 Entered 09/30/23 23:21:22 Imaged Certificate of
                                  Notice Pg 2 of 5




Some debts are not discharged                             Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:            agreement are not discharged.

     ♦ debts that are domestic support                    In addition, this discharge does not stop
       obligations;                                       creditors from collecting from anyone else who is
                                                          also liable on the debt, such as an insurance
                                                          company or a person who cosigned or
     ♦ debts for most student loans;                      guaranteed a loan.


     ♦ debts for most taxes;
                                                           This information is only a general summary
     ♦ debts that the bankruptcy court has                 of the bankruptcy discharge; some
       decided or will decide are not discharged           exceptions exist. Because the law is
       in this bankruptcy case;                            complicated, you should consult an
                                                           attorney to determine the exact effect of the
                                                           discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;

     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




Official Form 318                             Order of Discharge                           page 2
        23-60307-mmp Doc#15 Filed 09/30/23 Entered 09/30/23 23:21:22 Imaged Certificate of
                                       Notice Pg 3 of 5
                                                              United States Bankruptcy Court
                                                                Western District of Texas
In re:                                                                                                                 Case No. 23-60307-mmp
Arthur Johnson                                                                                                         Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0542-6                                                  User: admin                                                                 Page 1 of 3
Date Rcvd: Sep 28, 2023                                               Form ID: 318                                                              Total Noticed: 23
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

##               Addresses marked '##' were identified by the USPS National Change of Address system as undeliverable. Notices will no longer be delivered by
                 the USPS to these addresses; therefore, they have been bypassed. The debtor's attorney or pro se debtor was advised that the specified notice was
                 undeliverable.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Sep 30, 2023:
Recip ID                 Recipient Name and Address
db                     + Arthur Johnson, 1303 Tabor St., Waco, TX 76704-2423
18489593               + HHS Program Support Center, 5600 Fishers Ln, Rockville, MD 20852-1750
18489604               + WATEX, LLC, PO Box 7581, Waco, TX 76714-7581

TOTAL: 3

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
tr                     + EDI: QJESTUDENSKY.COM
                                                                                        Sep 29 2023 03:15:00      James Studensky, 3912 W. Waco Drive, Waco,
                                                                                                                  TX 76710-7108
ust                    + Email/Text: ustpregion07.au.ecf@usdoj.gov
                                                                                        Sep 28 2023 23:44:00      United States Trustee - WA12, United States
                                                                                                                  Trustee, 903 San Jacinto Blvd, Suite 230, Austin,
                                                                                                                  TX 78701-2450
cr                     + Email/Text: ecf@heardlawfirm.net
                                                                                        Sep 28 2023 23:43:00      Ovation Services LLC, as Agent for FGMS
                                                                                                                  Holdings L, c/o Mary Elizabeth Heard, 100 NE
                                                                                                                  Loop 410, Suite 605, San Antonio, TX
                                                                                                                  78216-4742
18489589                  Email/Text: bcd@oag.texas.gov
                                                                                        Sep 28 2023 23:43:00      Attorney General, Collection/Bankruptcy, PO Box
                                                                                                                  12548, Austin, TX 78711-2548
18489590               + EDI: BANKAMER.COM
                                                                                        Sep 29 2023 03:15:00      Bank of America, Attn: Bankruptcy, 4909
                                                                                                                  Savarese Circle, Tampa, FL 33634-2413
18489591               + EDI: CAPITALONE.COM
                                                                                        Sep 29 2023 03:16:00      Capital One, Attn: Bankruptcy, PO Box 30285,
                                                                                                                  Salt Lake City, UT 84130-0285
18489592               + EDI: CAPITALONE.COM
                                                                                        Sep 29 2023 03:16:00      Capital One/Walmart, Attn: Bankruptcy, P.O. Box
                                                                                                                  30285, Salt Lake City, UT 84130-0285
18493182               + Email/Text: julie.parsons@mvbalaw.com
                                                                                        Sep 28 2023 23:44:00      City of Waco, Waco ISD, c/o Julie Parsons, P.O.
                                                                                                                  Box 1269, Round Rock, TX 78680-1269
18489594               + EDI: LCIICSYSTEM
                                                                                        Sep 29 2023 03:16:00      IC Systems, Inc, Attn: Bankruptcy, PO Box 64378,
                                                                                                                  St. Paul, MN 55164-0378
18489595                  EDI: IRS.COM
                                                                                        Sep 29 2023 03:16:00      Internal Revenue Service, 300 E 8th St., STOP
                                                                                                                  5026AUS, Austin TX 78701-3233
18503343               + Email/Text: Austin.Bankruptcy@lgbs.com
                                                                                        Sep 28 2023 23:44:00      McLennan County, c/o Diane W. Sanders,
                                                                                                                  Linebarger Goggan Blair & Sampson, LLP, P.O.
                                                                                                                  Box 17428, Austin, TX 78760-7428
18489597               + Email/PDF: MerrickBKNotifications@Resurgent.com
                                                                                        Sep 28 2023 23:38:09      Merrick Bank, PO Box 9201, Old Bethpage, NY
                                                                                                                  11804-9001
18489598               + Email/Text: bankruptcy@ncaks.com
                                                                                        Sep 28 2023 23:43:00      National Credit Adjusters, LLC, Attn: Bankruptcy
                                                                                                                  Department, PO Box 3023, Hutchinson, KS
        23-60307-mmp Doc#15 Filed 09/30/23 Entered 09/30/23 23:21:22 Imaged Certificate of
                                       Notice Pg 4 of 5
District/off: 0542-6                                                User: admin                                                           Page 2 of 3
Date Rcvd: Sep 28, 2023                                             Form ID: 318                                                        Total Noticed: 23
                                                                                                            67504-3023
18489599               + Email/Text: electronicbkydocs@nelnet.net
                                                                                   Sep 28 2023 23:44:00     Nelnet, Attn: Claims, P.O. Box: 82505, Lincoln,
                                                                                                            NE 68501-2505
18490197                 Email/Text: bankruptcy@tllegalservices.com
                                                                                   Sep 28 2023 23:43:00     Ovation Services, LLC, 1114 Lost Creek Blvd.,
                                                                                                            Suite 125, Austin, Texas 78746
18493126               + Email/Text: ecf@heardlawfirm.net
                                                                                   Sep 28 2023 23:43:00     Ovation Services LLC as agent for, FGMS
                                                                                                            Holdings LLC, c/o M.E. Heard, Attorney, PLLC,
                                                                                                            100 NE Loop 410, Suite 605, San Antonio, TX
                                                                                                            78216-4742
18489601               + Email/PDF: resurgentbknotifications@resurgent.com
                                                                                   Sep 28 2023 23:37:37     Pyod Llc, Po Box 10497, Greenville, SC
                                                                                                            29603-0497
18489602               + Email/Text: bankruptcy@sw-credit.com
                                                                                   Sep 28 2023 23:44:00     SWC Group, 4120 International Pkwy #100,
                                                                                                            Carrollton, TX 75007-1957
18489603               + EDI: RMSC.COM
                                                                                   Sep 29 2023 03:15:00     Synchrony Bank, Attn: Bankruptcy, Po Box
                                                                                                            965060, Orlando, FL 32896-5060
18489605               + Email/Text: bankruptcynotice@westlakefinancial.com
                                                                                   Sep 28 2023 23:44:00     Westlake Financial Services, Customer Care, PO
                                                                                                            Box 76809, Los Angeles, CA 90076-0809

TOTAL: 20


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID          Bypass Reason Name and Address
18489606                        Yolanda Johnson, UNKNOWN ADDRESS
cr                *+            City of Waco, Waco ISD, c/o Julie Parsons, P.O. Box 1269, Round Rock, TX 78680-1269
18489596          *             Internal Revenue Service, PO Box 7346, Philadelphia, PA 19101-7346
18489600          ##+           Ovation Services, LLC, 8401 Datapoint Dr., Ste 1000, San Antonio, TX 78229-5926

TOTAL: 1 Undeliverable, 2 Duplicate, 1 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Sep 30, 2023                                          Signature:         /s/Gustava Winters




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on September 28, 2023 at the address(es) listed
below:
Name                             Email Address
Diane W. Sanders
                                 on behalf of Creditor McLennan County austin.bankruptcy@publicans.com

Evan McLean Simpson
                                 on behalf of Debtor Arthur Johnson evan@hotxlaw.com marie@hotxlaw.com;LawOfficeofEvanSimpsonPLLC@jubileebk.net

James Studensky
                                 jstudensky.trustee@outlook.com jstudensky@ecf.axosfs.com
        23-60307-mmp Doc#15 Filed 09/30/23 Entered 09/30/23 23:21:22 Imaged Certificate of
                                       Notice Pg 5 of 5
District/off: 0542-6                                           User: admin                                                         Page 3 of 3
Date Rcvd: Sep 28, 2023                                        Form ID: 318                                                      Total Noticed: 23
Julie A. Parsons
                               on behalf of Creditor City of Waco Waco ISD jparsons@mvbalaw.com,
                               vcovington@mvbalaw.com;kalexander@mvbalaw.com;julie.parsons@ecf.courtdrive.com

Mary Elizabeth Heard
                               on behalf of Creditor Ovation Services LLC as Agent for FGMS Holdings LLC meheard@heardlawfirm.net,
                               ecf@heardlawfirm.net

United States Trustee - WA12
                               ustpregion07.au.ecf@usdoj.gov


TOTAL: 6
